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                                      1   R. Joseph Trojan CA Bar No. 137,067
                                          trojan@trojanlawoffices.com
                                      2   Dylan C. Dang CA Bar No. 223,455
                                      3   dang@trojanlawoffices.com
                                          Francis Wong CA Bar No. 284,946
                                      4   wong@trojanlawoffices.com
                                      5   TROJAN LAW OFFICES
                                          9250 Wilshire Blvd., Suite 325
                                      6   Beverly Hills, CA 90212
                                      7   Telephone: 310-777-8399
                                          Facsimile: 310-691-1086
                                      8   Attorney for Defendant,
                                      9   California Expanded Metal Products Co.

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                                     11                      UNITED STATES DISTRICT COURT

                                     12                     CENTRAL DISTRICT OF CALIFORNIA
TROJAN LAW OFFICES




                                     13
                                          Seal4Safti, Inc., a Washington      CASE NO. 2:20-cv-10409 −MCS−JEM
                     BEVERLY HILLS




                                     14   corporation,
                                                                              INDEX OF DEPOSITION
                                     15
                                                         Plaintiff,           DESIGNATIONS PURSUANT TO
                                     16                                       LOCAL RULE 16-2.7(c)
                                     17
                                          California Expanded Metal           Trial Date: May 3, 2022
                                     18   Products Co., a California          Time: 8:30 a.m.
                                          company,                            Place: Courtroom 7C
                                     19

                                     20                  Defendant.           Honorable Mark C. Scarsi
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                                      1         Pursuant to Federal Rule of Civil Procedure 32(a) and Local Rule 16.2-7(c),
                                      2   Defendant/Counterclaim-Plaintiff California Expanded Metal Products Company
                                      3   (“CEMCO”) and Plaintiff/Counterclaim-Defendant Seal4Safti, Inc. (“S4S”) provide
                                      4   the following index of deposition transcript designations to be used at trial. Included
                                      5   herewith are the portions of the deposition offered, objections, and the grounds of
                                      6   objections for each Party.
                                      7         I.      DEPOSITION OF DAVID TULLIS
                                      8       CEMCO’s Designations         S4S’s Objection & Grounds Therefor
                                           Pg. 18, lns. 16-21          No Objection.
                                      9    Pg. 26, lns. 3-18           For Pg. 26, lns. 3-11: No objection
                                     10
                                                                               For Pg. 26, lns. 12-18: Lacks Foundation; Calls
                                     11                                        for Speculation; Irrelevant; Prejudice outweighs
                                     12                                        probative value–Fed. R. Evid. 402, 403.
                                           Pg. 37, ln. 20 – Pg. 38, ln. 11     Irrelevant; Prejudice outweighs probative
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                                     13                                        value–Fed. R. Evid. 402, 403.
                                           Pg. 48, ln. 3 – Pg. 49, ln. 16      No Objection.
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                                           Pg. 50, ln. 11 – Pg. 51, ln. 14     No Objection.
                                     15
                                           Pg. 52, ln. 13 – Pg. 55, ln. 21     No Objection.
                                     16    Pg. 64, ln. 21 – Pg. 65, ln. 2      Incomplete Quotation; Irrelevant; Prejudice
                                                                               outweighs probative value–Fed. R. Evid. 402,
                                     17
                                                                               403.
                                     18    Pg. 72, ln. 19 – Pg. 73, ln. 11     Irrelevant; Prejudice outweighs probative
                                                                               value–Fed. R. Evid. 402, 403.
                                     19
                                           Pg. 79, ln. 8 – Pg. 80, ln. 13      Irrelevant; Prejudice outweighs probative
                                     20                                        value–Fed. R. Evid. 402, 403.
                                     21    Pg. 91, lns. 9-19                   Irrelevant; Prejudice outweighs probative
                                                                               value–Fed. R. Evid. 402, 403.
                                     22    Pg. 108, ln. 6 – Pg. 109, ln. 2     No Objection.
                                     23    Pg. 110, ln. 7 – Pg. 111, ln. 3     For Pg. 110, lns. 7-22: No Objection

                                     24                                        For Pg. 110, ln. 23 – Pg. 111, ln. 3: Irrelevant;
                                     25                                        Prejudice outweighs probative value–Fed. R.
                                                                               Evid. 402, 403.
                                     26    Pg. 120, ln. 23 – Pg. 121, ln. 23   No Objection.
                                     27    Pg. 142, ln. 12 – Pg. 144, ln. 6    Irrelevant; Prejudice outweighs probative
                                                                               value–Fed. R. Evid. 402, 403.
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                                      1       Pg. 146, lns. 4-14.               Irrelevant; Prejudice outweighs     probative
                                                                                value–Fed. R. Evid. 402, 403.
                                      2
                                      3        S4S’s Counter-Designations        CEMCO’s Objection & Grounds Therefor
                                              Pg. 39, ln. 16 – Pg. 40, ln. 25   No Objection.
                                      4       Pg. 44, ln. 23 – Pg. 45, ln. 18   For Pg. 44, lns. 23-25: No Objection
                                      5
                                                                                For Pg. 45, lns. 1-18: Irrelevant; Prejudice
                                      6                                         outweighs probative value; Speculative; Non-
                                      7                                         responsive (45:19-20) – FRE 402, 403.
                                              Pg. 49, ln. 17 – Pg. 50, ln. 6    No Objection.
                                      8
                                              Pg. 51, lns. 15-22                No Objection.
                                      9       Pg. 64, lns. 1-4                  Prejudice outweighs probative value as the
                                                                                designation is contrary to Court’s Claim
                                     10
                                                                                Construction Order (Dkt. #65) – FRE 403.
                                     11       Pg. 65, lns. 2-7                  No Objection.
                                     12
                                              Pg. 76, ln. 11 – Pg. 77, ln. 22   No Objection.
                                              Pg. 91, ln. 20 – Pg. 93, ln. 11   No Objection.
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                                     13       Pg. 103, ln. 3 – Pg. 104, ln. 6   No Objection.
                                              Pg. 138, ln. 3 – Pg. 139, ln. 9   No Objection.
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                                     15
                                     16            II.     DEPOSITION OF LESZEK ORSZULAK1
                                                 CEMCO’s Designations         S4S’s Objection & Grounds Therefor
                                     17       Pg. 43, lns. 6-18           Irrelevant; Prejudice outweighs probative
                                     18                                   value–Fed. R. Evid. 402, 403.
                                                                          Cumulative-not unique testimony as Mr. Sydry
                                     19                                   will be able to offer same testimony.
                                     20       Pg. 52, lns. 8-12           Irrelevant; Prejudice outweighs probative
                                                                          value–Fed. R. Evid. 402, 403.
                                     21                                   Cumulative–not unique testimony as Mr. Sydry
                                     22                                   will be able to offer same testimony.
                                              Pg. 53, lns. 2-10           Irrelevant; Prejudice outweighs probative
                                     23
                                                                          value–Fed. R. Evid. 402, 403.
                                     24                                   Cumulative–not unique testimony as Mr. Sydry
                                                                          will be able to offer same testimony.
                                     25
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                                          1
                                           As S4S objects to the admission of the Deposition of Leszek Orszulak in its entirety
                                     27
                                          as cumulative, S4S does not provide any counter-designations for the Deposition of
                                     28   Leszek Orszulak.
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                                      1   Pg. 54, ln. 19 – Pg. 55, ln. 2    Irrelevant; Prejudice outweighs probative
                                                                            value–Fed. R. Evid. 402, 403.
                                      2                                     Cumulative–not unique testimony as Mr. Sydry
                                      3                                     will be able to offer same testimony.
                                          Pg. 57, lns. 19-21                Cumulative–not unique testimony as Mr. Sydry
                                      4                                     will be able to offer same testimony.
                                      5   Pg. 64, ln. 24 – Pg. 65, ln. 13   Cumulative–not unique testimony as Mr. Sydry
                                                                            and/or Mr. Klein will be able to offer same
                                      6                                     testimony.
                                      7   Pg. 66, lns. 17-21                Cumulative–not unique testimony as Mr. Sydry
                                                                            will be able to offer same testimony.
                                      8
                                          Pg. 68, lns. 23-25                Cumulative–not unique testimony as Mr. Sydry
                                      9                                     and/or Mr. Klein will be able to offer same
                                                                            testimony.
                                     10
                                          Pg. 76, lns. 8-15                 Cumulative–not unique testimony as Mr. Sydry
                                     11                                     will be able to offer same testimony.
                                     12
                                          Pg. 91, lns. 4-12                 Cumulative–not unique testimony as Mr. Sydry
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                                     13                                     and/or Mr. Klein will be able to offer same
                                                                            testimony.
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                                     14
                                          Pg. 96, ln. 18 – Pg. 97, ln. 22   Irrelevant; Prejudice outweighs probative
                                     15                                     value–Fed. R. Evid. 402, 403.
                                     16                                     Cumulative–not unique testimony as Mr. Sydry
                                                                            will be able to offer same testimony.
                                     17

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                                     19                                       Respectfully submitted,
                                     20
                                                                              TROJAN LAW OFFICES
                                     21                                       by
                                     22
                                          May 3, 2022                         /s/ R. Joseph Trojan
                                     23                                       R. Joseph Trojan
                                     24                                       Attorney for Defendant,
                                                                              CALIFORNIA EXPANDED METAL
                                     25                                       PRODUCTS COMPANY
                                     26

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